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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                 JACKSONVILLE DIVISION


 MONICA ROHENA-MORALES,
             Plaintiff                         Case No.: 3:16-CV-1085-J-39-JBT




 vs.

 SUPER NAILS OF PALM COAST. L.L.C., and
 HUNG H. NGUYEN
               Defendants                                    /


                           MOTION TO APPROVE SETTLEMENT

               Come now the Plaintiff, Monica Rohena-Morales, (herein after referred to

 as “Plaintiff”), by and through her undersigned counsel and the Defendants, Super Nails

 of Palm Coast, L.L.C. and Hung H. Nguyen, (herein after referred to as “Defendants”),

 and state as follows:

        The Plaintiff and Defendants disclose the terms of the settlement of this matter

 and, recognizing the unavoidable inconsistent requirements of this Court’s duty to

 investigate FLSA settlements and Fed. R. Evid. 408, which prohibits disclosure of

 settlement negotiations, acknowledge that both Plaintiff and Defendants do not anticipate

 this disclosure to be admissible or relevant in the event the settlement is not approved by

 the Court.

        This case alleged that the Plaintiff was due past overtime. The Plaintiff alleged

 she was due $3,784.85 in unpaid overtime. The Defendants do not agree with Plaintiff’s

 allegations about the hours Plaintiff worked. The parties anticipate there would be
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 voluminous, potentially contradictory evidence to analyze regarding the specific amount

 of time which the Plaintiff worked. Of course, the Defendants contend that Defendants’

 actions were not wrong or illegal and, if wrong, were in good faith and would not entitle

 Plaintiff to liquidated damages.

        Both the Plaintiff and the Defendant know the fact intensive issues surrounding

 the work performed and classification of this employee do not have an objectively clear

 outcome for either party.       The Plaintiff and the Defendants both wish to avoid

 uncertainty, avoid future expenses and risks, and conclude this litigation.

         The Defendants have agreed to pay Ms. Rohena-Morales $3,784.85 in past

 overtime pay and $3,784.85 in liquidated damages to resolve this matter. The Defendants

 have agreed to pay $3,020.00 in fees and costs to Plaintiff’s counsel, Ryan LaBar, Esq.,

 in addition to, the $7,569.70 referenced above. The total of all payments is $10,589.70.

 The negotiation of the Plaintiff’s settlement was completely unrelated to the resolution of

 proposed fees and costs offered to be paid in this case. The Plaintiff believes this is a full

 and fair settlement of Plaintiff’s overtime claims, which have been made in full, without

 compromise. Defendants do not agree that overtime or liquidated damages are due, but

 because they understand there will be conflicting evidence presented if this case were to

 proceed to trial, have made a business decision to pay the alleged damages in full rather

 than pay to defend and try the case. In exchange, upon Court approval, Plaintiff agrees

 that she has been fully and fairly paid all sums due her pursuant to the FLSA.

        All parties respectfully request the Magistrate Judge prepare a report and

 recommendation approving this compromise settlement as “a fair and reasonable

 resolution of a bona fide dispute”, Lynn’s Food Stores, Inc. v. United States Department
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 of Labor, 679 F.2d 1350, 1354-55 (11th Cir. 1982), recognizing the Court may approve

 the settlement “in order to promote the policy of encouraging settlement of litigation.” Id.

 at 1354. The agreement is filed together with this pleading for reference. Arguably no

 approval is necessary because there was no compromise of the alleged amounts due. See,

 Gerzanick v. Superior Aircraft Services, Inc., No. CIV.A. 6:11-791-Orl-28KRS, 2011

 WL 4054633 at *1-2 (M.D. Fla. Sept. 2, 2011.


                                                      Respectfully Submitted,

 Dated November 3, 2016


 /s/ N. Ryan LaBar                                    /s/Matthew E. Romanik
 Attorney for Plaintiff                               Attorney for Defendant
 N. Ryan LaBar, Esq.                                  Matthew E. Romanik, Esq.
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                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the above-foregoing has

 been transmitted to N. Ryan LaBar, Esq., counsel for Plaintiff, 2300 East Concord Street,

 Orlando, FL 32803 on November 3, 2016 via filing with the clerk of the Court via

 CM/ECF which will serve the pleading upon him.

                                                      /s/ Matthew E. Romanik
                                                      Attorney for Defendant
                                                      Matthew E. Romanik, Esq.
                                                      Damore, Delgado, Romanik & Rawlins
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